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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

NORIAN A RADWAN                                       CIVIL ACTION NO. 3:16-CV-02091
    Plaintiff

      v.

UNIVERSITY OF CONNECTICUT
BOARD OF TRUSTEES, ET AL.                             August 29, 2018
    Defendant


           MOTION FOR LEAVE TO FILE SUPPLEMENT TO DEFENDANTS' ANSWER
                                  !DKT.151

       Pursuant to Federal Rule of Civil Procedure 15, defendants, Warde Manuel in his

individual capacity, Mona Lucas, Leonidas Tsantiris in their individual and official capacities,

and the University of Connecticut Board of Trustees (collectively referred to as UConn) seek

leave from the court to supplement their answer [Dkt. 15] in response to allegations contained in

paragraphs 65, 66, 68. 69. 70, 72 and 86 of the complaint. [Dkt. 1]. UConn was unable to

respond to these allegations because they related to UConn Student Athletes (other than the

plaintiff) that is protected by the Family Educational Rights and Privacy Act (FERP A) (20

U.S.C. § 1232g; 34 CFRpart 99). [Defendants' Answer Dkt. 15]. Plaintiff has since subpoenaed

records in furtherance of her Request for Production from UConn relating to these allegations

and UConn provided written notice to the impacted student athletes about their right to move to

quash the subpoena. No students have exercised this option and UConn provided the requested

responsive documents consistent with its responses and objections raised in response to

plaintiff's Request for Production.

       Accordingly, UConn hereby seeks leave of the court to supplement their answer [Dkt. 15]

to allegations in plaintiff's complaint that it was unable to admit or deny because the information
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was protected by FERPA. A copy of the proposed supplement to defendants' answer is attached

hereto.



                                                  DEFENDANTS,


                                                  GEORGE JEPSEN
                                                  ATTORNEY GENERAL



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                                 CERTIFICATION

          I hereby certify that on 29th day of August, 2018, a copy of foregoing Motion was

filed electronically. Notice of this filing will be sent by e-mail to all parties by operation

of the Court's electronic filing system. Parties may access this filing through the Court's

system.

                                               DEFENDANT

                                               GEORGE JEPSEN
                                               ATTORNEY GENERAL


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